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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


   UNITED STATES OF AMERICA

   V.                                    Case No.: 1:21-cr-00371-BMC-TAM

   AL MALIK ALSHAHHI, et al.

               Defendants.


   MEMORANDUM IN SUPPORT OF THOMAS J. BARRACK'S MOTION TO DISMISS
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                                             INTRODUCTION

          Defendant Thomas J. Barrack, Jr. respectfully moves for dismissal of all seven counts in

   the indictment before the Court. The indictment accuses Mr. Barrack of failing to notify the U.S.

   Attorney General that he was acting as an agent of the United Arab Emirates, a longtime ally of

   the United States. Mr. Barrack was never an agent of the UAE, nor did he commit obstruction or

   make any false statements. There is no basis whatsoever for the charges against Mr. Barrack, and

   this indictment should be dismissed in its entirety.

          Counts 1 and 2 are insupportable as a matter of law because they do not allege facts which,

   if true, would establish that Mr. Barrack was an agent of the UAE     i.e., that he "agree[d] to operate

   . . . subject to [its] direction or control." 18 U.S.C. § 951(d). By its terms, and as recently held in

   United States v. Rafiekian, 991 F.3d 529 (4th Cir. 2021), Section 951 requires an agreement by

   which the principal has the right to direct or control the agent's actions, and the agent the

   correlative duty to follow the principal's directions. Section 951 does not and cannot proscribe

   mere "willing[ness] to do something the foreign principal requests." Id. at 539.

          Section 951's requirement that there be such an agreement distinguishes an agent for a

   foreign government from a private citizen who freely chooses to communicate with or about a

   foreign government, and separates unlawful conduct from lawful conduct. This requirement is a

   crucial safeguard against Section 951's criminalizing core First Amendment activity a danger

   that could hardly be starker than in this case, in which Mr. Barrack stands accused of crimes for

   voicing long-held views about the Middle East and communicating with its leaders.

          The indictment here sets out a number of Mr. Barrack's communications and public

   statements, but conspicuously omits any facts that he undertook these activities because he agreed

   to be directed or controlled by the UAE. The indictment does not allege any such agreement

   whether by way of a written agreement, a confirmatory exchange of emails or texts, or even a
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   verbal understanding. It likewise fails to describe any terms of an agreement, such as its purpose,

   scope, duration, or the existence and nature of any obligations of Mr. Barrack. And it contains no

   allegation that Mr. Barrack bargained for or received any compensation or anything else of value

   for supposedly agreeing to act as an agent of the UAE    - -the sort of allegation that Section 951
   indictments typically include to show that the defendant undertook an obligation to follow

   directions.

          The government will no doubt urge that whether Mr. Barrack was an agent of the UAE is

   a jury question that cannot be decided at this stage, and that decisions of grand juries to indict are

   entitled to deference. But this Court need not "blindly accept a recitation in general terms of the

   elements of the offense, " and instead must look at the specific facts alleged in the indictment to

   see if an offense has been alleged. United States v. Huet, 665 F.3d 588, 595 (3d Cir. 2012).

   Further, such deference would be badly misplaced here, because this indictment would criminalize

   otherwise protected conduct without alleging it was undertaken by Mr. Barrack pursuant to an

   agreement to be directed or controlled by the UAE as its agent. See United States v. Nagi, 254 F.

   Supp. 3d 548, 559 (W.D.N.Y. 2017) (demanding "government proffer of anticipated trial

   evidence," on a motion to dismiss indictment, to ensure adequate support for element of offense

   that "respect[ed] the First Amendment line"). Counts 1 and 2 therefore fail to state an offense and

   should be dismissed.

          Counts 3 through 7 are premised on Mr. Barrack's voluntary interview with prosecutors in

   June 2019. Department of Justice policy advises prosecutors to record witness interviews. U.S.

   Dep't of Justice Manual § 9-13.001. Although the interview was planned well in advance,

   prosecutors chose not to record or transcribe it. Instead, an FBI agent made handwritten notes that

   merged the questions and answers in a manner that fails to disclose key aspects and nuances of



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   Mr. Barrack's statements. The government nevertheless charged Mr. Barrack more than two

   years later   with multiple felony counts of making false statements to federal officials, 18 U.S.C.

   § 1001, and one count of obstruction of justice, id. § 1512(c)(2). These charges should not go to

   a jury. Defenses to such charges hinge on the specific words used by the questioner and the

   defendant, and the government has deprived Mr. Barrack of the contemporaneous record he needs

   to defend himself. In addition, one of the false-statement counts (Count 5) must be dismissed

   because the indictment fails to plead a necessary element of the offense.

          Finally, the government's unjustified two-year delay in charging Mr. Barrack also warrants

   dismissal of the indictment. The government had all the evidence on which the indictment was

   based in 2019. The indictment pleads the conspiracy terminated in April 2018, and the alleged

   false statements occurred in June 2019. Why the government waited more than two years, and

   until after a change in administration, is a question only it can answer, but it should answer it

   especially given the paramount First Amendment interests at stake. Had the government brought

   this case when its investigation was complete in 2019, recollections regarding Mr. Barrack's June

   2019 interview would have been fresh and the harm from the government's failure to make a

   contemporaneous record might have been mitigated. The lengthy delay has also prejudiced Mr.

   Barrack's ability to identify, preserve, and secure documentary evidence and obtain evidence from

   witnesses whose memories have faded. The government has provided no explanation for its delay,

   and the specter that the government intentionally delayed bringing this case for political reasons

   or tactical advantage hangs heavily over this case. Because Mr. Barrack has been deprived of a

   fair opportunity to defend himself, the indictment should be dismissed.




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                                             BACKGROUND

              A. Tom Barrack

          Mr. Barrack is a third-generation U.S. citizen whose grandparents came to the United

   States in 1900. He was born and raised in Culver City, California. After attending Loyola High

   School and earning an undergraduate degree from University of Southern California and a law

   degree from the University of San Diego School of Law, he worked for a Los Angeles-based law

   firm as a project finance lawyer on various international projects, including in the Middle East. In

   1982, Mr. Barrack was appointed by President Ronald Reagan as Deputy Undersecretary of the

   U.S. Department oflnterior, after which he returned to the business world.

          As a highly-distinguished business leader for over 40 years, Mr. Barrack was the founder

   and CEO of a private equity and later public company with billions of dollars of assets under

   management all over the world, including sovereign wealth funds from across the Middle East

   most notably Qatar, a nation in direct conflict with the UAE. In that capacity, Mr. Barrack served

   as a fiduciary to hundreds of investors from all over the world, and as a director of various public

   companies, trustee of the University of Southern California, and principal of financial institutions

   and other highly-regulated businesses. Throughout his career, Mr. Barrack has established

   relationships with government and business leaders all over the globe. In 2010, the French

   government honored Mr. Barrack with the National Order of Legion of Honour, its highest order

   of merit, for his work in international business and finance.

              B. Trump Campaign And Administration

        From April to November 2016, in addition to his business activities, Mr. Barrack served as

   an informal advisor to presidential candidate Donald Trump and as a member of the campaign's

   National Security Advisory Team. After the election, he served as Chairman of the Presidential

   Inaugural Committee. Indictment ,i 2. During this timeframe, Mr. Barrack communicated with

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   foreign officials from around the world, see, e.g., id ,i,i 14, 29, 50, 67, as well as senior members

   of the President's White House staff and Cabinet.

        At the 2016 Republican National Convention, Mr. Barrack delivered a keynote speech

   televised throughout the world. After the 2016 national election, he spent the next several months

   leading the inauguration effort and assisting the President-Elect and his team in the transition

   process. Thereafter, Mr. Barrack considered joining the new Administration, initially as a Special

   Envoy to the Middle East and later as an Ambassador in Latin America. Toward that end, in June

   2017, Mr. Barrack prepared and submitted the required Form SF-86, an application used for

   background investigations of individuals under consideration for sensitive national security

   positions. This application spanned hundreds of pages and disclosed Mr. Barrack's contacts with

   foreign leaders and officials throughout the world, including the very UAE individuals referenced

   in the indictment.     Mr. Barrack was extensively interviewed by U.S. State Department

   investigators about these contacts and interactions. In September 2017, Mr. Barrack withdrew his

   application for a government position, having decided instead to remain with his company.

        All the foregoing activities by Mr. Barrack occurred at the very same time the indictment

   alleges he was supposedly an agent of the UAE.

              C. The Government's Investigation

        As early as December 2017, Mr. Barrack voluntarily produced documents and met with

   prosecutors in the Special Counsel's Office investigation, which was led by Robert Mueller and

   included prosecutors from the Eastern District of New York. In June 2019, Mr. Barrack again

   voluntarily produced documents and was interviewed by Eastern District prosecutors. The

   government chose not to record either of these interviews or transcribe Mr. Barrack's statements.

   At no time did the prosecutors advise Mr. Barrack that he was a target of any investigation.

          After that June 2019 interview, Mr. Barrack heard nothing more from the prosecutors.
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   They did not contact him or his counsel to express any concerns about the information he provided

   or to discuss potential charges or a pre-indictment presentation.       Meanwhile, Mr. Barrack

   continued working as Executive Chairman of his company and in that role made dozens of trips

   overseas, including to the Middle East. He also continued to act as an informal advisor to the

                                                    --
   Administration on foreign and economic policy with no indication by the government that he

   was supposedly an undisclosed foreign agent or national security threat.

          On July 20, 2021, after two years of silence, more than a dozen armed FBI agents burst

   into a Los Angeles office where Mr. Barrack was attending a business meeting and took him into

   custody. He was incarcerated in a California general population prison for four days until he was

   released under extremely harsh and virtually unprecedented bail conditions.

              D. The July 2021 Indictment

          There is no allegation in the indictment that Mr. Barrack undertook any of the activities

   detailed in the indictment because he was obligated to do so by virtue of an agreement with the

   UAE to act as its agent. There are likewise no allegations that he ever engaged in any activity

   against the interests of United States or that U.S. officials were unaware of his relationships and

   interactions with UAE officials or other foreign governments. And the indictment bears none of

   the hallmarks of other Section 951 indictments that have been allowed to proceed past a motion to

   dismiss, such as compensation or an express agreement. Finally, while the indictment alleges that

   Mr. Barrack conspired to violate Section 951 through April 2018, see id. ,i 96, the last overt act

   alleged occurred in October 2017, see id. ,i 97(a).

          Although the indictment describes instances where Mr. Barrack offered to be helpful to

   UAE officials or where such officials made requests of him, it does not allege any directives,

   demands, commands, or anything Mr. Barrack was required to do. To the contrary, when, for

   example, an Emirati official "asked" Mr. Barrack for ideas or "asked" questions about presidential
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   appointments, id. ,i,i 16, 54, or "propos[ed]" language for a speech, id. ,i 18, there is no allegation

   that Mr. Barrack complied. Nor is it alleged that he accomplished any item on the "wish list" the

   UAE supposedly prepared, id. ,i 62, or that he took steps to comply with the UAE's request that

   the Muslim Brotherhood be listed as a foreign terrorist organization, id. ,i 65. Similarly, while the

   indictment alleges that the UAE asked Mr. Barrack to support a particular Congressman as the

   U.S. ambassador to the UAE, id. ,i 71, there is no allegation Mr. Barrack actually did so.

          Even when the indictment describes instances when Mr. Barrack purportedly acted in

   response to requests from the UAE, it is not alleged that he complied as requested. For example,

   the indictment alleges that UAE officials sent Mr. Barrack "talking points" to convey during media

   appearances, but does not say that he followed them, alleging only that Mr. Barack "praise[ d]" the

   UAE during his appearances. Id. ,i 24. The indictment likewise alleges that, after receiving a set

   of op-ed "talking points" from Mr. Rashid Al Malik, Mr. Barrack merely substituted the word

   "regimes" for "dictatorships." Id. ,i 50.

                                                ARGUMENT

   I.     THE SECTION 951 CHARGES MUST BE DISMISSED.

          Count 1, which charges Mr. Barrack as acting as an agent of the UAE without notification

   to the U.S. Attorney General in violation of 18 U.S.C. § 951, and Count 2, which charges Mr.

   Barrack with conspiracy to violate Section 951 in violation of 18 U.S.C. § 371, must be dismissed

   because they fail to allege facts showing that Mr. Barrack agreed with the UAE to operate as its

   agent subject to its direction or control.

          A.       Section 951 Requires That The Government Allege Mr. Barrack Owed A
                   Duty To A Foreign Government.

          Section 951 applies only to "agent[s] of a foreign government." 18 U.S.C. § 951(a). The

   text, common-law underpinnings, and statutory context all confirm that, to be an agent within the


                                                     7
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   meaning of Section 951, a defendant must be subject to a duty to comply with the foreign

   principal's directions. A request from a foreign country, or independent actions or speeches to

   help that country, are not enough to establish such a duty. Any contrary reading     that Section 951

   could be satisfied without an obligation to do what the principal instructs would criminalize a

   host of protected First Amendment activity, including the right to freely express and advocate

   views that may align with the interests of a foreign sovereign. Such activity is not and never has

   been illegal.

                   1.     Section 951 's Definition Of "Agent" Requires That The Defendant Owe The
                          Foreign Government A Duty To Follow That Government 's Directions.

          An individual is an "agent of a foreign government" within the meaning of Section 951

   only ifhe "agrees to operate within the United States subject to the direction or control of a foreign

   government or official." 18 U.S.C. § 951(d). In the only Court of Appeals decision to date to

   interpret this key language, the Fourth Circuit held that "to be an 'agent of a foreign government"'

   within the meaning of Section 951, there must be "mutual assent" that the individual agent owes a

   duty to act at the foreign government's instruction. Rafiekian, 991 F.3d at 540-41. The court

   rejected the government's "substantially more expansive construction" of the statute, i.e. , "that a

   person becomes an 'agent' for the purposes of § 951 whenever he 'is willing to do something the

   foreign principal requests."' Id. at 539. As the court explained: "That interpretation is broad"

   and "rightly rejected," "not just on the bases of § 951's plain language and common-law likeness,

   but because Congress utilized a more sweeping definition of 'agent' in the Foreign Agents

   Registration Act, which includes far-reaching verbiage that § 951 lacks." Id. This Court should

   follow Rafiekian's interpretation of Section 951.

          To begin, Rafiekian faithfully construes the plain language of the statute. An agreement to

   operate "subject to the direction or control of a foreign government or official" exists only where

                                                     8
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   there has been a meeting of the minds that the foreign principal has the authority to instruct, direct,

   or command the defendant to take certain actions, see Direction & Control, Black's Law

   Dictionary (11th ed. 2019) ("Direction" means "an order; an instruction on how to proceed," and

   "control" means "[t]he direct or indirect power to govern the management and policies of a person

   or entity."), and the defendant is "obligat[ed]" to act accordingly, Subjection, Black's Law

   Dictionary (11th ed. 2019). Put simply, the government must establish that the defendant and the

   foreign official agreed that the defendant would be subject (i.e., duty-bound) to the foreign entity's

   direction or control. It is not enough that a foreign official made requests and a defendant

   sometimes acted to fulfill them.

          This construction of Section 951 is fully in accord with the common law. As Rafiekian

   explained, Section 951's definition of "agent" parallels the common law definition of an agent.

   991 F.3d at 539 (quoting Restatement (Second) of Agency § 1, 14, cmt. a (Am. L. Inst. 1958)).

   Because Congress adopted a definition of "agent" in Section 951 that "resonates with the common

   law's [definition] in important respects," courts should be "counsel[ed]" by the common law of

   agency when interpreting Section 951. Id. That common law establishes that the principal's "right

   to control" the agent and the agent's corresponding "duty not to act contrary to the principal's

   directions" lie at the heart of the agency relationship. Restatement (Second) of Agency § 14, cmt.

   a (1958); see also Johnson v. Priceline.com, Inc., 711 F.3d 271, 277 (2d Cir. 2013) (explaining

   agency's necessary elements). This duty is precisely what separates an "agency relation" from

   other relationships sometimes confused with true agency in which the "so-called agent has no duty

   to respond to the will of the principal." Restatement (Second) of Agency § 1, cmt. c (1958). 1


   1This motion, like Rafiekian, primarily relies on Restatement (Second) because that version of the
   Restatement was in place when Section 951 was amended to include a definition of "agent." No
   material variation between the Second and Third Restatements appears relevant here.

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                  2.      Section 951 's Context Confirms That A Violation Requires Proo/OfA Duty.

          Statutory context confirms that Section 951 requires proof of a duty. The phrase "subject

   to the direction" of another is consistently used throughout the U.S. Code to mean that one entity

   has an obligation to follow directions of another. See, e.g., 2 U.S.C. § 2148(a) ("Architect of the

   Capitol, subject to the direction of the Joint Committee of Congress on the Library, may enter into

   cooperative agreements . . . "); 22 U.S.C. § 9651(b) ("Subject to the direction of the Board [of the

   International Development Finance Corporation], the risk committee established under subsection

   (a) shall have oversight responsibility of [certain matters]."); 31 U.S.C. § 305 ("The Federal

   Financing Bank . . . is subject to the direction and supervision of the Secretary of the Treasury.");

   id. § 503(a) ("Subject to the direction and approval of the Director [of the Office of Management

   and Budget], the Deputy Director for Management shall . . . "). 2 This same language in Section

   951 should be interpreted to require proof that a defendant was obligated to follow the directives

   of the alleged principal.

          Requiring proof of a duty also accords with the regulations promulgated pursuant to

   Section 951, which contemplate an actual agency agreement with distinct legal obligations and

   terms: the notice to the Attorney General must include "the identity of the foreign government or

   official for whom the agent is acting, and a brief description of the activities to be conducted for

   the foreign government or official and the anticipated duration of the activities." 28 C.F.R.

   § 73.3(a).

          In another statutory context    the Foreign Agents Registration Act ("FARA"), 22 U.S.C.

   § § 611-621   Congress defined "agent" in a "more sweeping" way than in Section 951. Rafiekian,


   2
     The Department of Justice's regulation defining "agent" uses slightly different language than the
   statute, but it still requires the government to show that the defendant owed a duty to a foreign
   principal and was "subject to the [foreign principal's] direction or control," 28 C.F.R. § 73.1.

                                                    10
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   991 F.3d at 539. Under FARA, an "agent of a foreign principal" includes not only someone who

   "acts . . . under the direction or control . . . of a foreign principal" but also one who acts "at the

   order, request, or under the direction or control of' a foreign principal. 22 U.S.C. § 611(c)( l)

   (emphasis added). By contrast, Section 951 defines agency more narrowly and requires acting at

   the "direction or control" of a foreign entity, making clear that a mere request is not enough. See

   18 U.S.C. § 951(d). Because "Congress has shown that it knows how to" criminalize actions in

   the absence of proof of a duty "in express terms, " Dean v. United States, 137 S. Ct. 1170, 1177

   (2017), this Court should treat the omission of any reference to "requests" in Section 951 as a

   deliberate choice. In other words, this Court should hold that Section 951, unlike FARA, requires

   more than that the purported agent merely be "willing to do something the foreign principal

   requests." Rafiekian, 991 F.3d at 539. Construing Section 951 to require proof of a duty is

   particularly appropriate given that, when Congress enacted the statutory definition of "foreign

   agent" in Section 951, it expressly considered the statute's relationship with FARA. 3

          The Justice Department itself recently concluded that even under FARA, foreign agency

   entails "some level of power" or "authority" exercised by the principal        and correspondingly,



   3
     See Communist Bloc Intelligence Gathering Activities on Capitol Hill, Hearing Before the
   Subcommittee on Security and Terrorism of the Committee on the Judiciary, U.S. Senate at 4 (May
   12, 1982) (statement of Senator Denton noting that transferring responsibility for Section 951 from
   the State Department to the Justice Department would allow the Justice Department to administer
   Section 951 and FARA in tandem); id. at 5 (statement of Senator Thurmond lauding the proposed
   increase of penalties under Section 951 because of the perceived ineffectiveness of FARA); id. at
   20 (statement of Deputy Assistant Attorney General Mark Richard noting that transferring
   administration of Section 951 to the Justice Department would "complement[] overall the
   registration system set forth in [FARA], which is now administered by the Criminal Division of
   the Department of Justice"); id. at 32 (Joel Lisker, Chief Counsel to the Subcommittee, noting
   recent efforts of the Justice Department to encourage an individual to register "under [FARA], not
   under § 951," and expressing a desire "to have some common understanding of just what it is we
   are seeking to achieve by either notification or by registration under the second statute").

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   "some sense of obligation" by the agent. See FARA Unit, Dep't of Justice, The Scope of Agency

   Under FARA (May 2020). 4 If "some sense of obligation" owed by the agent to the principal is

   required even in the context of FARA which explicitly refers to "requests"        then a duty to obey

   the principal's directions must be required under Section 951. And, to be clear, even under

   FARA's broader definition of "agent, " the facts alleged here do not establish a FARA violation

   because such a violation occurs only if the alleged agent has an obligation to take an action on

   behalf of a foreign principal, not where the agent is independently motivated to act.

                  3.      Construing Section 951 To Require A Duty Avoids Rendering The Statute
                          Unconstitutionally Overbroad.

          A broad interpretation of Section 951 would criminalize core First Amendment activity.

   "[E]xpression of dissatisfaction with the policies of this country" is "expression situated at the core

   of our First Amendment values." Texas v. Johnson, 491 U.S. 397, 411 (1989). Indeed, "there is

   practically universal agreement that a major purpose of [the First] Amendment was to protect the

   free discussion of governmental affairs." First Nat 'l Bank v. Belloti, 435 U.S. 765, 776-77 (1978)

   (alteration in original). This protection extends to discussion of "politics, nationalism, religion, or

   other matters of opinion." W Va. State Bd. ofEduc. v. Barnette, 319 U.S. 624, 642 (1943). It also

   protects the "freedom to engage in association for the advancement of beliefs and ideas." NAACP

   v. Patterson, 357 U.S. 449, 460 (1958).




   4
     See Inquiry into the Matter of Billy Carter and Libya: Hearings Before the Subcomm. to
   Investigate the Activities of Foreign Governments, 96th Cong., 2d Sess. at 701 (1980) ("Heymann
   Testimony") (Assistant Attorney General testifying that, notwithstanding FARA's express
   reference to "requests, " "the relationship between the agent and the foreign principal must be one
   that substantially obligates the agent to the foreign principal. Only then is it fair to draw the
   conclusion that an individual is not acting independently, is not simply stating his or her own
   views, but is acting as an agent or alter ego of the foreign principal.") (emphasis added).

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           The government's approach to Section 951 reflected in the indictment would impinge on

   these core freedoms. Whenever a foreign government adopts a policy position that concerns the

   United States and encourages individuals to work toward the realization of that policy, U.S.

   citizens who agree with the foreign government and work toward a common end could hazard

   violating Section 951 and face up to 10 years' imprisonment. Suppose the Vatican urged Catholic

   Americans, Israel urged Jewish Americans, or India urged Indian Americans to express views

   consistent with its position in newspapers or on street comers. Or imagine a foreign leader asked

   the U.S. ambassador to extol the virtues of a new business or policy initiative to other U.S. officials.

   In each instance, U.S. citizens engaging in that protected First Amendment activity could risk

   violating Section 951. And if the government asserts Section 951 is a general-intent offense, see

   United States v. Campa, 529 F.3d 980, 999 (11th Cir. 2008); United States v. Dumeisi, 424 F.3d

   566, 581 (7th Cir. 2005), that exacerbates the risk of a conviction in these circumstances. 5

           To protect these First Amendment rights, this Court must construe Section 951 to require

   proof of a duty. The Court has a duty to construe statutes "where fairly possible so as to avoid

   substantial constitutional questions." United States v. X-Citement Video, Inc., 513 U.S. 64, 69

   (1994); see McDonnell v. United States, 136 S. Ct. 2355, 2372-73 (2016); McCormick v. United

   States, 500 U.S. 257, 273 (1991). And Section 951 would be unconstitutionally overbroad if, in a

   "substantial number of its applications . . . , judged in relation to the statute's plainly legitimate

   sweep, " it criminalized protected First Amendment activity. United States v. Stevens, 559 U.S.

   460, 473 (2010) (invalidating law prohibiting creation, sale or possession of depictions of animal

   cruelty). That is precisely what would follow were Section 951 applied to criminalize the conduct




   5
     In contrast, FARA contains an express willfulness requirement. See 22 U.S.C. § 618(a)(l)
   (penalizing one who "willfully violates any provision of this subchapter").
                                                     13
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   alleged in the indictment: public speeches and published statements; meetings and

   communications with government officials and business colleagues; and advice to the President

   and his team. See, e.g., Indictment ,i,i 18-24, 43-50, 79-85.

           To the extent any doubt about the scope of Section 951 remains, the rule of lenity also

   demands that the statute be construed to require that an agent must be subject to a duty to comply

   with the foreign principal's direction or control. "[W]here . . . the Government and the defense

   both posit plausible interpretations of a criminal statute, the rule of lenity requires us to adopt the

   defendant's construction." United States v. Valle, 807 F.3d 508, 523 (2d Cir. 2015); see United

   States v. Davis, 139 S. Ct. 2319, 2333 (2019) (similar).

               B. The Indictment Fails To Allege That Mr. Barrack Owed A Duty To The UAE.

          When deciding a motion to dismiss counts of an indictment, the Court "must accept all the

   factual allegations in the indictment as true." United States v. Scully, 108 F. Supp. 3d 59, 117

   (E.D.N.Y. 2015). However, "[a]n indictment that does not set out all of the essential elements of

   the offense charged is defective." United States v. Gonzalez, 686 F.3d 122, 127 (2d Cir. 2012). It

   must also allege "the essential/acts constituting the offense charged." Fed. R. Crim. Proc. 7(c)(l)

   (emphasis added). Although the defendant faces a "high standard in seeking to dismiss an

   indictment," the Court "may dismiss an indictment that is legally insufficient." Scully, 108 F.

   Supp. 3d at 116. "[W]here the definition of an offence . . . includes generic terms, it is not sufficient

   that the indictment shall charge the offence in the same generic terms as in the definition; but it

   must state the species,   it must descend to particulars." Russell v. United States, 369 U.S. 749,

   765 (1962).

           The indictment here fails in two important ways to allege the requisite duty. First, it does

   not allege facts showing that Mr. Barrack entered into an agreement with the UAE in which it was

   understood he was under a duty to comply with its directions. A court considering a motion to
                                                      14
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   dismiss "need not blindly accept a recitation in general terms of the elements of the offense, " but

   instead must look at the specific facts alleged in the indictment to see if an offense has been alleged.

   Huet, 665 F.3d at 595. Federal Rule of Criminal Procedure 12(b)(3) thus "allows a district court

   to review the sufficiency of the government's pleadings to . . . ensure that legally deficient charges

   do not go to a jury." Id. ("Although the Government is not required to set forth its entire case in

   the indictment, if the specific facts alleged fall beyond the scope of the relevant criminal statute,

   as a matter of statutory interpretation, the indictment fails to state an offense."). Accordingly, an

   indictment must be dismissed where it alleges facts that do not add up to a crime. See id. ; see

   also, e.g., United States v. Pimenta, 2015 WL 6502098, at *5 (D.N.J. Oct. 27, 2015) (dismissing

   indictment before trial where factual allegations were insufficient to support essential allegation

   that the defendant was an agent of a financial institution); United States v. Webb, 24 F. Supp. 3d

   432, 435 (M.D. Penn. 2014) (dismissing indictment before trial where factual allegations were

   insufficient to support wire fraud and Travel Act charges).

           United States v. Pimenta is instructive. There, a district court dismissed bank bribery

   charges under 18 U.S.C. § 215(a)(l) because the factual allegations in the indictment did not, as a

   matter oflaw, support the essential element in the statute that the defendant was an agent of a bank.

   2015 WL 6502098, at *5. Like here, the indictment "ha[d] no factual allegations relating to [the

   bank's] control or right to control, " which were needed to establish that the defendant was acting

   as an agent of a financial institution. Id. at *4. Nor did the indictment allege facts demonstrating

   that the defendant was "acting on behalf of' the bank or that "the relationship was one of a principal

   and an agent." Id. Without these basic factual allegations demonstrating an actual agency

   relationship, and where the indictment merely "assume[d]     - -without support" that the defendant's
   alleged control over a bank account somehow rendered them an "agent of' the bank, the Pimenta



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   court refused to "infer that some relationship existed" and dismissed the charges. Id. at *4-5

   (emphasis in original).

           Those same principles require dismissal here: the government has conceded that its

   indictment "goes well beyond" pleading the bare elements of the charged offenses.6 But the

   "requests" by the UAE alleged in the indictment fall far short of alleging an agreement with a duty

   to comply. See id. ,i 16 (alleging that after Mr. Barrack's first meeting with Emirati Official 2,

   Emirati Official 2 "asked" [Mr. Barrack] for more ideas); id. ,i 18 (alleging that Mr. Al Malik

   "propos[ed]" language to Mr. Barrack for a draft speech); id. ,i 26 (alleging that Mr. Al Malik told

   Mr. Barrack that Emirati Official 4 "asked" that Mr. Al Malik meet with Mr. Barrack to develop

   a foreign relations strategy); id. ,i 54 (alleging that Emirati Official 5 "asked" Mr. Barrack to

   provide insight on presidential appointments); id. ,i 72 (alleging that Mr. Al Malik "asked" Mr.

   Barrack to assist the UAE with a presidential appointment). Moreover, the UAE officials who

   made the requests repeatedly thanked Mr. Barrack for taking certain actions, belying any notion

   that Mr. Barrack was obligated to take them. See id. ,i 84 (alleging that Mr. Al Malik texted Mr.

   Barrack, "I have very special thanks and appreciations from the big guy. All respect for your

   efforts.").

           In describing a request from a UAE official, the indictment includes the conclusory

   allegation that in "June 2016, the defendants . . . , acting at the direction of United Arab Emirates

   officials, drafted materials proposing a strategy[.]" Id. ,i 25. But there is no allegation that Mr.

   Barrack was obligated in this instance (or any other) to follow the UAE officials' wishes, nor are

   facts alleged establishing the existence of such an obligation. Although the indictment uses the



   6
     Bowman Deel., Ex. 1 (August 18, 2021 letter from Assistant United States Attorney Ryan Harris
   to counsel for Mr. Barrack).

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   phrase "at the direction," without more, the surrounding context demonstrates that Mr. Barrack

   was not obligated to draft a strategy or that he did so while "subject to" the direction or control of

   the UAE. At most, this allegation describes another request or suggestion from the UAE. And

   that is not enough to satisfy Section 951.

          Second, as to the requests the indictment alleges the UAE made to Mr. Barrack, Mr.

   Barrack is not alleged to have complied with most of them. For example, in November 2016,

   shortly after the presidential election, Emirati Official 5, a high-ranking UAE diplomat (id.      ,r 9),
   asked Mr. Barrack if he had any "indicators" as to whom the incoming administration might

   appoint to certain high-level posts. Id.   ,r 54.   There is no allegation Mr. Barrack answered that

   inquiry. In December 2016, Mr. Al Malik allegedly sent a "wish list" of "foreign policy positions

   that would benefit the United Arab Emirates." Id. ,r 62. But there is no allegation of what any of

   those "wish[esf' were, let alone that Mr. Barrack took steps to advance them. Similarly, the UAE

   wanted the United States to list the Muslim Brotherhood as a foreign terrorist organization, and

   requested Mr. Barrack's advocacy to that end. Id.        ,r 65.   But Mr. Barrack is not alleged to have

   done so. As for the Qatar blockade, while the indictment alleges communications between Mr.

   Barrack and Mr. Al Malik during the time period of the blockade, it does not allege any facts

   demonstrating that Mr. Barrack followed instructions from UAE officials. See id. ,r,r
                                                                                     II 79-87.

   Indeed, in highly exculpatory evidence just disclosed by the government,




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  �owman Deel., Ex. 2. 7

          The few remaining allegations that Mr. Barrack sometimes took some actions consistent

   with some of the UAE's requests do not establish a duty. For example, the indictment discusses a

   draft energy speech to be delivered by candidate Trump. See Indictment ,r,r 18-23. When Mr.

   Barrack "asked for feedback" from Mr. Al Malik on the speech, id. ,r 18, Mr. Barrack also solicited

   feedback from others, including campai gn officials in the United States, id. ,r 22. That Mr. Barrack

   sought input from multiple sources, including individuals unaffiliated with the UAE, in no way

   suggests he had a duty to do so.8

          Similarly, in describing six of Mr. Barrack's many media appearances over the course of

   2016 and 2017, id.   ,r,r 24(a), 24(b ), 24(c), 24( d), 24(e ), 24(g), 24(h ), the indictment alleges that
   UAE officials sent Mr. Barrack "talking points" in advance of some of them, id.         ,r,r 24(b ), 24( t).
   But it does not allege that Mr. Barrack used anything at all from those talking points, instead

   vaguely alleging Mr. Barrack "praise[d]" the UAE. Id.         ,r,r 24(a), 24(c), 24(d), 24(e), 24(g).    A




   7
                                   Mr. Barrack's public support for Qatar during the blockade was
   well known. See Michael Kranish, "He's Better than this, says Thomas Barrack, Tntmp 's loyal
   whisperer, " Wash. Post (Oct. 11, 2017), https://www.washingtonpost.com/politics/hes-better­
   than-this-says-thomas-barrack-trumps-loyal-whisperer/2017/10/10/067fc776-a215-11e7-8cfe­
   d5b912fabc99 story.html (quoting U.S. Ambassador to Qatar Dana Shell Smith that "Tom
   Barrack is perhaps one of the only people in the world who understands the parties well enough
   and knows all of them well enough, including our administration, to help bring an end to the
   crisis").




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   person who disregards another's instructions is not someone who is acting subject to the direction

   or control of a principal, with a duty to follow the principal's directions.

          In yet another example, the indictment references an op-ed by Mr. Barrack in Fortune

   magazine, id. ,i,i 43-50, and characterizes it as an instance in which Mr. Barrack worked as a UAE

   agent, id. ,i 50. The op-ed is a lengthy, 26-paragraph foreign policy essay, and it refers to the UAE

   only once, 16 paragraphs in. There is no allegation that Mr. Barrack was under a duty to follow

   directions from the UAE about the content of this op-ed, and in light of the article's actual content,

   it is readily apparent Mr. Barrack wrote it based on decades of experience conducting business

   with government officials and companies in the Middle East, to share his perspective on

   geopolitics and historical events affecting the entire Middle East region.

          Finally, where courts have allowed Section 951 charges to proceed, the indictments have

   unlike the indictment here alleged facts clearly showing a duty to comply with the foreign

   official's requests. In Rafiekian, for example, the indictment alleged that Rafiekian was retained

   for a campaign on behalf of the Turkish government, for which he was paid      -there was an actual
   written contract. See Rafiekian Indictment ,i,i 17-18, 22.

          Other Section 951 charges that have proceeded past a motion to dismiss have included

   similar allegations. For example, in United States v. Ying Lin, 2018 WL 5113139 (E.D.N.Y. Oct.

   19, 2018), the operative indictment alleged that the defendant

          agreed to operate within the United States subject to the direction and control of a
          foreign government and a foreign official by using her position as a counter agent
          with the Carrier to smuggle items onto Carrier flights departing from JFK Airport
          to the PRC and to carry out other tasks at the direction and under the control of
          PRC agents working at the PRC Mission and the PRC Consulate. In return,
          [defendant] received benefits from the PRC Mission and the PRC Consulate
          beyond her compensation as an employee of the Carrier.




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   Superseding Indictment ,i 5 (Dkt. 87), United States v. Ying Lin, No. l:15-cr-601 (E.D.N.Y. Dec.

   6, 2017). "These benefits included tax-exempt purchases of discounted liquor and electronic

   devices, worth tens of thousands of dollars, as well as free contracting work by PRC construction

   workers at [defendant's] personal residences[.]" Id. ,i 12.

          Similarly, in United States v. Latchin, 2005 WL 8160638 (N.D. Ill. July 26, 2005), the

   superseding indictment alleged that the defendant "was compensated for his services as an [Iraqi

   Intelligence Service (IIS)] 'sleeper' agent and was paid through his handlers." First Superseding

   Indictment ,i 8 (Dkt. 35), United States v. Latchin, No. l:04-cr-661 (N.D. Ill. Dec. 1, 2004); id.

   Count Three, ,i 2(e) (defendant "received payments from intelligence officers of the IIS"). And,

   in United States v. Dumeisi, 2003 WL 22757747 (N.D. Ill. Nov. 20, 2003), the pertinent indictment

   alleged that "the IIS paid [the defendant] for his services, " which included collecting and reporting

   information on individuals and groups considered hostile to Saddam Hussein's regime.

   Superseding Indictment at ,i 15 (Dkt. 42), United States v. Dumeisi, No. l:03-cr-664 (N.D. Ill. Oct.

   29, 2003). There are no comparable allegations in the indictment here.

              C. Section 951 Cannot Be Applied To Mr. Barrack Without Contravening The
                 Void-for-Vagueness Doctrine.

          If Section 951 were construed to cover Mr. Barrack's conduct alleged in the indictment

   because it is construed not to require proof of a duty or for any other reason the statute would be

   unconstitutionally vague as applied to him and require dismissal of Counts 1 and 2. A statute is

   unconstitutionally vague as applied unless it satisfies both prongs of a two-part test. See City of

   Chi. v. Morales, 527 U.S. 41, 56 (1999) (plurality op.). First, it must set clear "standards" that do

   not "allow[] policemen, prosecutors, and juries to pursue their personal predilections." Smith v.

   Goguen, 415 U.S. 566, 575 (1974). Second, its prohibition must be sufficiently clear in scope that




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   "men of common intelligence" need not "guess at its meaning and differ as to its application." Id.

   at 572 n.8. As applied here, Section 951 fails to satisfy either prong.

                   1.      Section 951 Invites Arbitrary Enforcement.

           Allowing conviction under Section 951 whenever someone follows the direction of a

   foreign principal would invite such arbitrary enforcement as to render the statute unconstitutional.

   Courts assess arbitrary enforcement claims by first asking whether the statute provides sufficiently

   clear standards to eliminate the risk of arbitrary enforcement. Smith, 415 U.S. at 575. This inquiry

   turns on the scope and clarity of the statutory text. See, e.g., id. at 578. If the statute lacks sufficient

   clarity, the Court asks whether "the conduct at issue falls within the core of the statute's

   prohibition, so that the enforcement before the court was not the result of the unfettered latitude

   that law enforcement officers and factfinders might have in other, hypothetical applications of the

   statute." Farrell v. Burke, 449 F.3d 470, 494 (2d Cir. 2006). If so, the statute is constitutional; if

   not, it is void for vagueness. Here, because the statute would fail both inquiries if stretched to

   cover Mr. Barrack's conduct, Section 951 would be unconstitutionally vague if applied to him.9

           When Congress added the current definition of "agent" to the statute in 1984, see Pub. L.

   98-473, § 1209, 98 Stat. 1837 (Oct. 12, 1984), the statutory language left ample room for arbitrary


   9
     Before statutory amendments in 1984, the government itself acknowledged the risk of arbitrary
   enforcement attending Section 951's indefinite language. In an April 30, 1972 memorandum, the
   State Department described the statute as "an uncommonly murky law" and admitted to giving
   "inconsistent answers . . . to those casually inquiring about" the registration requirement due to
   confusion about its applicability. See Mot. to Dismiss, Ex. 1, at 2, 10 (Dkt. 173-1), United States
   v. Maionica, No. 1:07-cr-20999 (S.D. Fla. June 20, 2008). Similarly, a February 9, 1976 letter
   from the State Department to the Attorney General recognized that Section 951 "is very unclear
   as to when notification is required," as the statute "does not contain a definition of the activity
   which requires registration." Mot. to Dismiss, Ex. 1, at 1 (Dkt. 173-2), United States v. Maionica,
   No. 1:07-cr-20999 (S.D. Fla. June 20, 2008). And a 1970 study commission by Congress stated
   that Section 951's criminal penalties "cannot be rationally justified on the basis of the conduct
   with which the statute on its face purports to deal" and recommended that it be repealed. 1
   Working Papers of the National Commission on Reform of Federal Criminal Laws 498-99 (1970).

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   enforcement. Take, for example, a U.S. citizen who has befriended a foreign official. If the foreign

   official asks the U.S. citizen to drive the official's car (located in the United States) around the

   block once a month to keep the car's battery alive, and the U.S. citizen agrees and acts accordingly

   (without providing the requisite notice), he would apparently violate the government's conc eption

   of Section 951. Just like Mr. Barrack is alleged to have done, the U.S. citizen would have carried

   out actions at the specific request of a foreign official. But whether or not to enforce Section 951

   against this citizen would d epend entirely on a prosecutor's subjective judgment. Just so with Mr.

   Barrack:
                                                                                             10
                                                                                                  If Section

   951 were deemed to criminalize such conduct, it would lack "minimal guidelines to govern law

   enforcement," Ko/ender v. Lawson, 461 U.S. 352, 358 (1983), and invite arbitrary enforcement.

          Furthermore, Mr. Barrack's conduct falls outside "the core of the statute's prohibition,"

   Farrell, 449 F.3d at 494. The core of Section 951's "usefulness" is in "espionage prosecutions,

   where its violation [was] often used as a secondary offense and as an investigative predicate for

   the FBI." Communist Bloc Intelligence Gathering Activities on Capitol Hill, Hearing Before the

   Subcommittee on Security and Terrorism of the Committee on the Judiciary, U.S. Senate at 4 (May

   12, 1982). This core purpose of Section 951 is reflected in how the government has used it in prior

   cases: To our knowledge, every reported Section 951 decision in this circuit involved espionage­

   related activities on behalf of foreign intelligence agents or assets. See, e.g., United States v. Abel,

   258 F.2d 485 (2d Cir. 1958); United States v. Egorov, 232 F. Supp. 732 (E.D.N.Y. 1964); United

   States v. Melekh, 190 F. Supp. 67 (S.D.N.Y. 1960); United States v. Angwang, 2020 WL 5947187

   (E.D.N.Y. Oct. 7, 2020); United States v. Ying Lin, 2018 WL 5113139 (E.D.N.Y. Oct. 19, 2018);


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                                                                               Bowman Deel., Ex. 3.

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   United States v. Lindauer, 2004 WL 2813168 (S.D.N.Y. Dec. 6, 2004). Here, by contrast, the

   indictment contains no allegation that Mr. Barrack was involved in espionage or subversive

   conduct against the United States. If Section 951 nevertheless were interpreted to cover his alleged

   conduct, that would only confirm that the statute is unconstitutionally vague because its application

   in this case "turns on the law enforcement officer's unguided and subjective judgment." Copeland

   v. Vance, 893 F.3d 101, 120 (2d Cir. 2018).

                  2.      The Text OfSection 951 Failed To Give Mr. Barrack Adequate Notice That
                          His Alleged Conduct Was Proscribed.

          As discussed, Section 951 defines an "agent of a foreign government" as "an individual

   who agrees to operate within the United States subject to the direction or control of a foreign

   government or official." 18 U.S.C. § 951(d). If that language covers the allegations here, then

   two terms in this statutory definition failed to give Mr. Barrack adequate notice that his alleged

   conduct was proscribed: (1) "agrees to operate" and (2) "subject to the direction or control."

          The plain meaning of "agree" is "[t]o unite in thought; to concur in opinion or purpose" or

   "[t]o exchange promises; to unite in an engagement to do or not do something." Agree, Black's

   Law Dictionary (11th ed. 2019). Reading Section 951's proscription with that definition in mind,

   no ordinary person would have received adequate notice that Mr. Barrack's alleged conduct

   involved an "agree[ment] to operate" as an agent of the identified principals. The indictment

   alleges that Mr. Barrack's contacts in the Middle East sought his views about President Trump,

   see Indictment ,i,i 16, 18, 36, 54; that Mr. Barrack publicly praised the Middle East, id. ,i 50; and

   that he expressed his views and connected officials in the UAE to people in the United States, id.

   ,i,i 29, 62-67. The indictment further acknowledges that Mr. Barrack sometimes acted contrary to

   his supposed principals' interests. See id. ,i,i 83, 85. To the extent the term "agrees to operate"




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   can be construed to cover this conduct at all, that term is unconstitutionally vague as applied to the

   facts of this case.

           Extending Section 951's "subject to the direction or control" language to cover Mr.

   Barrack's alleged actions would create similar problems. As discussed above, "direction" means

   "an order; an instruction on how to proceed," and "control" means the "direct or indirect power to

   govern the management and policies of a person or entity." See supra Part I.A. I . The ordinary

   person in Mr. Barrack's position would fail to comprehend that his public expressions about

   Middle East policy and related political conduct would subject him to prosecution on the theory

   that he was "subject to the direction or control" of a foreign government. See supra Part 11.B. As

   a result, if Section 951 were interpreted to apply to Mr. Barrack's conduct, the statute would be

   unconstitutionally vague as applied to him.

           Although some other courts have rejected vagueness challenges to Section 951, each of

   those decisions is distinguishable. Some rejected as-applied vagueness challenges where the

   defendant's "conduct was not innocent" while expressing no "opinion as to the constitutionality

   of possible applications of § 951 to completely innocent conduct." United States v. Duran, 596

   F.3d 1283, 1296 n.9 (11th Cir. 2010); see Lindauer, 2004 WL 2813168, at *1, 4 (rejecting

   vagueness challenge to Section 951 because "[t]he conduct charged in the indictment is clearly

   proscribed by the statute" and allegations were       unlike here   "bare-bones"). Others rejected

   vagueness challenges because the "[d]efendant ma[de] no effort to demonstrate that § 951 is vague

   or standardless as applied to his conduct." United States v. Ji Chaoqun, 2020 WL 1689826, at *4

   (N.D. Ill. Apr. 7, 2020); Dumeisi, 2003 WL 22757747, at *2 (defendant "fail[ed] to provide any

   legal or factual support for his" vagueness argument). And others rejected vagueness challenges

   to different terms in the statute or different deficiencies in the indictment. See United States v.



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   Hung, 629 F.2d 908, 920 (4th Cir. 1980) (rejecting claim that term "agent'' itself was

   unconstitutionally vague); Latchin, 2005 WL 8160638, at *2 (rejecting vagueness challenge

   premised on the idea that the Section 951 count "does not provide the dates of [the defendant's]

   alleged communications, the identities of the ITS officers with whom he met or communicated, or

   the dates he traveled overseas and/or received payment").

          D.      The Section 951 Charges Must Be Dismissed With Prejudice.

          The failings of the government's Section 951 charge cannot be cured by a superseding

   indictment. Just this month, and despite its persistent disavowal of any exculpatory evidence, the

   government disclosed evidence that irrefutably demonstrates Mr. Barrack was not an agent of the

   UAE.




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   Bowman Deel., Ex. 2.




   See Government's Sentencing Memorandum,

   (Dkt. No. 34) at 1, 3-4, 6-9. Further,




                                                            Bowman Deel., Ex. 3. 1 1

          Putting aside why this Brady evidence was not disclosed in the previous six months of this

   case and the government's inexplicable insistence even now that it is not exculpatory, this evidence

   alone proves Mr. Barrack



                                         And it also proves that



                                                                                            No viable

   claim under Section 951 could ever be asserted in the face of such dispositive evidence.

   II.    THE FALSE STATEMENT CHARGES MUST BE DISMISSED.

          In Counts 3 through 7, the indictment claims that Mr. Barrack made various false

   statements to the government and thereby obstructed a federal investigation. These counts must

   be dismissed because the government failed to make an adequate record of Mr. Barrack's




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   statements. Count 5 must be dismissed for the independent reason that the indictment fails to state

   a Section 1001 offense.

           A.      Counts 3, 4, 5, 6, And 7 Must Be Dismissed For Failure To Make A Record.

           The false-statement and obstruction-of-justice charges all suffer the same fatal defect: the

   government chose not to record the interview for which it seeks to prosecute five felony charges,

   thereby depriving Mr. Barrack of any meaningful record of his statements and prejudicing his

   ability to defend himself. Dismissal is the only appropriate remedy to protect Mr. Barrack's rights

   to due process and a fair trial.

           The circumstances surrounding the June 20, 2019 interview underlying Counts 3 through

   7 are straightforward: After learning of the government's investigation, Mr. Barrack approached

   the government and volunteered to answer questions for several hours in a pre-scheduled

   interview. Although the government knew Mr. Barrack was the target of its investigation, the

   government (i) did not tell Mr. Barrack he was a target, (ii) chose not to record the interview,

   (iii) neglected to take basic notes that documented the specific questions it asked and Mr. Barrack's

   answers, and then (iv) waited for more than two years (while memories faded) before indicting

   Mr. Barrack without an accurate record of the questions asked and the answers given that are the

   basis for the false statement counts. Moreover, the sole record the government chose to create are

   the handwritten notes of a single case agent that reflect little more than the agent's subjective

   commingling of the questions and answers into shorthand assertions, wholly devoid of the actual

   questions asked and answers given. Bowman Deel., Ex. 4; see also United States v. Ehrlichman,

   379 F. Supp. 291, 292 (D.D.C. 1974) (entering judgment of acquittal for Section 1001 conviction

   where the defendant was "faced with the difficult task of arguing that his statements to the F.B.I.




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   were literally true on the sole basis of the agent's sketchy notes, which do not purport to be a

   verbatim record of either the questions or the answers at issue").

          Due to the government's own actions, the record available at trial is not sufficient to submit

   these charges to a jury. Although no per se rule requires a verbatim transcript or written statement

   as a predicate for these offenses, the "absence of a verbatim record . . . raises serious difficulties"

   in false statement cases, United States v. Clifford, 426 F. Supp. 696, 701 (E.D.N.Y. 1976), at times

   warranting dismissal because "what is actually said by a defendant becomes a critically important

   part of any prosecution under § 1001," United States v. Poutre, 646 F.2d 685, 688 (1st Cir. 1980)

   (en bane). That is why Department of Justice policy creates a presumption that custodial

   statements will be electronically recorded and encourages the recording of witness interviews

   whenever the presumption does not apply. See U.S. Dep't of Justice, Justice Manual § 9-13.001;

   see also United States v. Ruzicka, 333 F. Supp. 3d 853, 869 n.6 (D. Minn. 2018) (finding "no

   reason to defend an unsupportable policy of not recording interviews when the Department of

   Justice itself' envisions that U.S. Attorneys and the FBI will tape witness interviews).

          Although the government's failure to record an interview may not always be grounds for

   dismissal of an indictment, dismissal is warranted here for three reasons:

          First, the government had ample notice of Mr. Barrack's interview and the ability to either

   record it or take comprehensive notes documenting the questions asked and Mr. Barrack's answers.

   There was nothing about the location or circumstances of the interview that would have precluded

   an electronic recording. Cf United States v. Valdez-Molina, 2015 WL 13346843, *1-2 (S.D. Tex.

   June 8, 2015) (denying motion to dismiss false statement charges based on DHS's failure to record

   an interview at the border). Nor was there any time restriction that would have prevented the case

   agent from taking detailed notes documenting the questions asked and answers given. Yet, the



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   government has offered no explanation for its failure to record the interview or memorialize the

   statements sufficiently to permit a jury to weigh the evidence fairly, and render a verdict grounded

   in a record. Ehrlichman, 379 F. Supp. at 292. And while FBI policy requires that preparation of

   an FBI-302 memorandum "be effected within five days following the final interview session," 1 2

   the memorandum of Mr. Barrack's June 20, 2019 interview was not completed until more than

   four weeks after the interview took place. Bowman Deel., Ex. 5.

          Second, the government's specific questions and Mr. Barrack's answers during the June

   2019 interview necessarily form the core of any defense to the false-statement and obstruction-of­

   justice charges premised on that interview. By failing to record or memorialize the statements, the

   government has impeded Mr. Barrack's ability to advance "two of the few available defenses to a

   false statement charge," including that he "was responding to a fundamentally ambiguous question

   or that [his] answer was literally true." United States v. Ricard, 922 F.3d 639, 652 (5th Cir. 2019).

   "Both of those defenses hinge heavily on the specific words spoken by the defendant and the

   questioner." Id. (citing Clifford, 426 F. Supp. at 701, and Ehrlichman, 379 F. Supp. at 292).

          Courts in this Circuit have dismissed false-statement charges pretrial where the meaning

   of a single phrase or term is not "sufficiently clear to be placed before a jury." United States v.

   Kerik, 615 F. Supp. 2d 256, 271, 273-74 (S.D.N.Y. 2009). For example, Kerik dismissed false­

   statement charges before trial where the defendant allegedly lied when responding to questions

   about whether he had any "questionable" business relationships or information "that might cause




   12 R. 10-13.3(1 l)(c), FBI Manual of Administrative Operations and Procedures (MAOP) 2007,
   https://archive.org/stream/FbiManualOfAdministrativeOperationsAndProceduresmaop2007/
   MAOPP2 Sec 10 WRITTEN COMMUNICATIONS djvu.txt (last visited Jan. 25, 2022); see
   also United States v. Brown, 2011 U.S. Dist. LEXIS 93549, at *24 (W.D. Penn. Aug. 19, 2011)
   ("Under [FBI] policy, a special agent is expected to memorialize interviews of witnesses on an
   FD-302 form within five days of the interview.").
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   embarrassment to himself or to the President." Id. at 262, 273 n.19. The court held that these

   questions were "fundamentally ambiguous," and thus failed to state a Section 1001 offense. Id. at

   272.   Second Circuit courts have consistently held that such "fundamental ambiguity or

   impreciseness in the questioning" should preclude false-statement charges from reaching a jury.

   United States v. Bonacorsa, 528 F.2d 1218, 1221 (2d Cir. 1976); see also, e.g., United States v.

   Watts, 72 F. Supp. 2d 106, 109 (E.D.N.Y. 1999) (an answer to a fundamentally ambiguous

   question "may not, as [a] matter of law, form the basis of a prosecution for perjury or false

   statement").

          It is also well established that a defendant cannot be convicted for making false statements

   where their responses to the government's questions were literally true. See Bronston v. United

   States, 409 U.S. 352, 362 (1973) (any "special problems arising from the literally true but

   unresponsive answer are to be remedied through the 'questioner's acuity' and not by a federal

   perjury prosecution"). Following Bronston, courts have reversed convictions where a defendant's

   statements were literally true, even where the statements were misleading or non-responsive. See,

   e.g., United States v. Shotts, 145 F.3d 1289, 1299-300 (11th Cir. 1998) ("Even if [the defendant's]

   answer was evasive, non-responsive, intentionally misleading and arguably false, it was literally

   true and cannot support a conviction" for making false statements); United States v. Vesaas, 586

   F.2d 101, 104 (8th Cir. 1978) ("An indictment premised on a statement which on its face is not

   false cannot survive").

          Those defenses are critical in this case. For example, Count 4 alleges that Mr. Barrack

   falsely stated that Mr. Al Malik "did not ask [him] to do anything for the United Arab Emirates."

   Indictment ,i 101. The government's only record reflecting that alleged statement is an FBI-302

   memorandum and the case agent's notes, both of which omit the question that was asked and the



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   specific answer Mr. Barrack provided. Instead, these materials subjectively combine the question

   and answer into a single assertion:
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                          "        But the exact wording of the question and answer is crucial for the jury:

   Did the government merely ask Mr. Barrack ifhe "felt" that Mr. Al Malik asked him to do anything

   for the UAE, thus asking only for his subjective view of their interactions? If so, did the

   government ask any follow up questions to clarify Mr. Barrack's response and determine ifhe was

   making an objective assertion about a specific request from Mr. Al Malik that was false under

   Section 1001? Or did Mr. Barrack simply respond relaying his subjective interpretation of his

   interactions with Mr. Al Malik based on the government's ambi guous question? Count 4 hinges

   on these nuances, but the government chose to leave the jury without the evidence it needs to

   determine whether Mr. Barrack answered truthfully. And the government-not Mr. Barrack­

   should suffer the consequences of those choices.

            Similarly, Count 6 alleges that Mr. Barrack "falsely stated [that he) had no role in

   facilitating communications between the President-Elect and officials from the United Arab

   Emirates[.]" Indictment ,r 105. The indictment alleges that this statement was false because Mr.

   Barrack supposed ly "arrang[ed) one or more telephone calls between the President-Elect and

   Emirati Official 1 and Emirati Official 2" and because he "provid[ed) contact information" for

   Emirati officials to the President-Elect's assistant. As with Count 4, however, the record does not

   reflect whether the ambi guous term "facilitating communications" was used by the government in

   its question or instead whether those were words used by Mr. Barrack in his response. The specific

   lan guage used in the question and Mr. Barrack's response are critical: "facilitating

   communications" can mean different things, and it is hardly clear that such language would


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        Bowman Deel., Ex. 4, at 3 (emphasis added).

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   necessarily encompass something as routine as providing contact information to the President­

   Elect's assistant. Where the government's question or the defendant's answer is ambiguous and

   no evidence                                    -
                  other than the statement itself is presented as to what the defendant meant, a

   defendant cannot be convicted unless the government has negated "any reasonable interpretation

   that would make the defendant's statement factually correct." Watts, 72 F. Supp. 2d at 114; see

   also United States v. Gatewood, 173 F.3d 983, 988 (6th Cir. 1999); United States v. Migliaccio,

   34 F.3d 1517, 1525 (10th Cir. 1994); United States v. Race, 632 F.2d 1114, 1120 (4th Cir. 1980);

   United States v. Anderson, 579 F.2d 455, 460 (8th Cir. 1978); Clifford, 426 F. Supp. at 705. And

   if it was the government that used the ambiguous phrase "facilitating communications" in its

   question, it had the obligation to ask follow up questions to ensure that Mr. Barrack understood

   what it was asking. "[T]he consequences of imprecision in the language used to question a witness

   must be laid at the table of the questioner, not the questioned." United States v. Sainz, 772 F.2d

   559, 564 (9th Cir. 1985); see also Bronston, 409 U.S. at 362 (precise questioning by the

   government agent "is imperative"). Nor does the indictment allege facts demonstrating that Mr.

   Barrack's statement was actually false, i.e., that he actually arranged any calls between the

   President-Elect and Emirati officials. Instead, the only facts alleged in the indictment are that

   (1) Mr. Grimes remarked to Mr. Al Malik that a call between the President-Elect and Emirati

   officials was arranged shortly after Mr. Grimes had raised such a call with Mr. Barrack, and (2) Mr.

   Grimes believed that they could "take credit for [that] phone call." Indictment ,i 66. Neither

   allegation shows that Mr. Barrack was actually responsible for arranging the call. Thus, even if

   factual allegations in the indictment were true, those allegations would still not establish that Mr.

   Barrack's alleged responses to the government during his interview were false.




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          Because the government chose to neither record nor memorialize the questions and answers

   here, the Court should not permit the charges to reach a jury where there is "no basis, other than

   pure speculation upon which a reasonable juror could determine what question was asked and what

   response was given." Clifford, 426 F. Supp. at 703. Here, the government chose to proceed in a

   manner that prevented the Court from having a record to assess the ambiguity of the questions and

   the literal truth of Mr. Barrack's responses.

          Third, the government waited two years      long after memories of the precise language used

   during the interview would have faded     - -to charge Mr. Barrack with multiple felony counts
   premised on allegedly false statements. Because technical points about a defendant's exact

   statements can make a "vast[] differen[ce], not only in form, but in substance, especially if a

   determination of literal-truthfulness vel non is to be made," this delay in prosecution is especially

   harmful here. Clifford, 426 F. Supp. at 702; see also, e.g., United States v. Razzaia, 370 F. Supp.

   577, 579 (D. Conn. 1973) (in false swearing cases, "the careful use of words becomes important").

   For example, the government alleges that Mr. Barrack made false statements that supposedly

   concealed his contacts and role with the UAE. But the government's failure to record or

   adequately memorialize Mr. Barrack's interview has led to material gaps in the record about

   information that Mr. Barrack volunteered during his interview regarding those contacts, including

   his affirmative disclosure that Mr. Al Malik and George Nader were both vying to be the main

   channel of communications between the UAE and the Trump Administration (disclosures that

   have been corroborated by information the government recently produced to the defense). Thus,

   fading recollections and the absence of a complete record (both results of the government's

   choices) have not only prejudiced Mr. Barrack's defenses based on fundamental ambiguity and




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   literal truth, but also led to critical gaps in the record that directly undercut the government's theory

   of its case.

           As a result, "[t]he defense has been irreparably crippled, " as "even an accurate assessment

   of the extent of' Mr. Barrack's alleged conduct is "unknown as a result of purposeful conduct by

   a government actor. Under such circumstances, it seems that a discussion of good faith is really

   beside the point. The damage is done. It cannot be undone." United States v. Soriano, 401 F.

   Supp. 3d 396, 404 (E.D.N.Y. 2019). In these circumstances, the government should not be

   permitted to benefit by buttressing the indictment with false statement charges predicated on an

   inadequate record; instead, Counts 3 through 7 must be dismissed. See id. at 405.

           B.      Count 5 Must Be Dismissed For Failure To State An Offense

           Count 5 must be dismissed for the additional reason that it fails to allege a necessary

   element of a Section 1001 offense. "[I]n order to secure a conviction under [18 U.S.C.] §

   1001(a)(2), the Government must prove that a defendant (1) knowingly and willfully, (2) made a

   materially false, fictitious, or fraudulent statement, (3) in relation to a matter within the jurisdiction

   of a department or agency of the United States, (4) with knowledge that it was false or fictitious

   or fraudulent." United States v. Litvak, 808 F.3d 160, 170 (2d Cir. 2015). With respect to Count

   5, the indictment fails to allege Mr. Barrack had knowledge of falsity, and thus fails to allege a

   violation of Section 1001.

           Count 5 charges Mr. Barrack with falsely stating to federal agents that he was "never asked

   to download any messaging application by anyone associated with the Middle East [and] never

   had a dedicated telephone to communicate with anyone associated with the Middle East," even

   though he allegedly knew the opposite to be true. Indictment ,i 103. But none of the dozen text

   messages and emails described in the indictment in support of Count 5 alleges Mr. Barrack was



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   aware of any request to use a dedicated phone or secure messaging application. Instead, the

   indictment alleges only that others    including Mr. Grimes, Mr. Al Malik, and UAE officials

   communicated about those matters, without alleging that Mr. Barrack participated in or had any

   knowledge of those communications. See id. ,i,i 35-42. In the absence of such allegations, the

   indictment fails to plead that Mr. Barack's statement was false or that he knew of its falsity.

          An indictment ordinarily need not specify evidence or details of how an offense was

   committed. United States v. Walters, 963 F. Supp. 2d 125, 130 (E.D.N.Y. 2013). But where it

   does allege those specific details, "the indictment fails to state an offense" "if the specific facts

   that are alleged fall beyond the scope of the relevant criminal statute, as a matter of statutory

   interpretation." Huet, 665 F.3d at 595; see also, e.g., Pimenta, 2015 WL 6502098, at *5; Webb,

   24 F. Supp. 3d at 435. That is precisely the case here: The government chose to include detailed

   factual allegations in its charging documents. But those detailed allegations nowhere suggest that

   Mr. Barrack was aware of a request to use a messaging application or dedicated phone, nor that he

   complied with such a request. Indictment ,i,i 35-42. To the contrary, the indictment makes clear

   that Mr. Barrack continued to send text messages and communicate by phone with Mr. Grimes,

   Mr. Al Malik, and UAE officials for at least a year after the alleged discussions about using

   encrypted applications and dedicated devices. See, e.g., id. ,i 97(a) (listing only "text messages"

   between Mr. Barrack, Mr. Grimes, and Mr. Al Malik through October 2017).

          As such, the indictment fails to allege         other than through pro forma language

                                                                   --
   unsupported by the indictment's specific factual allegations that Mr. Barrack made a false

   statement or knew he was doing so. See id. ,i 103; see also id. ,i 92. Because Count 5 fails to plead

   necessary elements of a Section 1001 offense, this count should be dismissed. See United States

   v. Fried, 450 F. Supp. 90, 94 (S.D.N.Y. 1978) (dismissing false statement counts because



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   allegations contained no "literally false statement"); see also Webb, 24 F. Supp. 3d at 440

   (dismissing indictment based on review of "specific facts alleged in the indictment" and rejecting

   government's argument that the motion to dismiss was "based on the sufficiency of the evidence,

   not on the sufficiency of the government's pleading").

   III.   THE GOVERNMENT'S PREJUDICIAL AND UNJUSTIFIABLE                                        PRE­
          INDICTMENT DELAY REQUIRES DISMISSAL OF ALL COUNTS.

          The government appears to have taken few investigative steps following Mr. Barrack's

   June 2019 interview, waiting for two years before bringing charges. This delay is even more

   inexplicable given that the government's actions since Mr. Barrack's interview do not reflect any

   apparent concern that he was a foreign agent or national security threat, even though he traveled

   overseas more than a dozen times and continued to have access to senior White House personnel

   and the President.    The Due Process Clause protects defendants against such prejudicial,

   unjustified pre-indictment delay. See United States v. Lovasco, 431 U.S. 783, 789 (1977); United

   States v. Marion, 404 U.S. 307, 324 (1971); see also Fed. R. Crim. Proc. 48(b) (allowing dismissal

   of indictment for pre-indictment delay). To establish such a due process violation, a defendant

   must show both that he was prejudiced by the delay and that the government acted with an

   impermissible mens rea in delaying the indictment. Because both are present here, the indictment

   must be dismissed in full. Or, at the very least, the Court should allow discovery into the reasons

   for the government's extended delay.

              A. The Legal Standard

          Prejudice in this context is often shown by the loss of documentary evidence or the

   unavailability of a key witness. For example, in United States v. Gross, 165 F. Supp. 2d 372

   (E.D.N.Y. 2001), the court found prejudice because "documents and other evidence were lost,

   businesses in possession of critical documents collapsed, and witnesses died," and were this


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   evidence available, "it would be used to show that some of the representations attributed to

   Defendants were made by other parties and that [the alleged victim] was aware" of the facts

   relevant to its transactions with the defendants. Id. at 380-81. Similarly, in Howell v. Barker, 904

   F.2d 889 (4th Cir. 1990), the court granted habeas relief based on a 27-month pre-indictment delay,

   where the defendant's key alibi witness could no longer be located and the government "candidly

   stated that [its] justification for the preindictment delay was mere convenience." Id. at 895.

          Upon a finding of actual prejudice, the Court must next consider the government's

   proffered reasons for the delay. Lovasco, 431 U.S. at 789-90; Gross, 165 F. Supp. 2d at 378. The

   Second Circuit has not taken a clear position, however, on what the defendant must show about

   the government's reasons for delay in order to establish a due process violation. See Gross, 165

   F. Supp. 2d at 378-80. Some courts hold that "negligence or reckless disregard on the part of the

   government" is sufficient to shows a due process violation; others hold that a defendant must show

   the delay was "an intentional device to gain tactical advantage over the accused." Id. at 378-79.

           The former is the correct test. The Due Process Clause protects a defendant's right to a

   fair trial, see, e.g., Smith v. Phillips, 455 U.S. 209, 219 (1982), and the fairness of a trial does not

   tum on the prosecution's subjective intent to harm the defendant's case. Rather, it turns on how

   the trial is conducted for example, what evidence is available to the defendant and can be

   evaluated fairly by the jury and the objective justifications for any prejudicial conduct. For this

   reason, many trial-related due process doctrines, such as Brady v. Maryland, 373 U.S. 83 (1963),

   and speedy-trial claims, see Barker v. Wingo, 407 U.S. 514 (1972), do not require proof of the

   prosecution's subjective intent to show a due process violation. The right to a trial free from

   prejudicial, unjustified delay stands on the same due process footing.




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              B. The Government's Pre-indictment Delay Severely Prejudiced Mr. Barrack
                 And Has No Valid Justification.

          The government's pre-indictment delay has severely prejudiced Mr. Barrack's defense and

   the government has no valid justification for its delay under either standard.

          As described above, the two-year delay in charging Mr. Barrack has prevented him from

   obtaining important evidence. The lack of an adequate record of his 2019 interview denies Mr.

   Barrack critical proof to establish what he was asked and how he answered. This delay is

   particularly problematic in the context of this case, where   as discussed above   the alleged falsity

   of Mr. Barrack's statements turns on the exact words used. See supra Part II.A. Additionally, as

   to all the charges against him, the two-year delay hamstrings Mr. Barrack's ability to obtain text

   or email evidence from key witnesses. Mr. Barrack had no reason to believe he was the target of

   an investigation during that two-year period and had no reason to take steps to obtain or preserve

   this evidence. Mr. Barrack was in phone and text communication with high-ranking members of

   the Trump campaign and later the Trump Administration regarding his activities in the Middle

   East, and no doubt those individuals communicated with others about Mr. Barrack's role. Such

   communications would disprove the government's theory that Mr. Barrack acted as a secret agent

   of the UAE to betray the United States and instead demonstrate his activities were undertaken with

   the knowledge of the Trump campaign and Administration. Because of the government's delay,

   this evidence is no longer reasonably available, if at all.

          To that point, the government has not produced, or perhaps not even searched for, internal

   memoranda or communications in government offices such as the White House or the intelligence

   agencies that were in the possession of key individuals in the campaign and Administration with

   whom Mr. Barrack was in communication about the matters alleged in the indictment. Moreover,




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   it is doubtful that texts and emails once in the possession of such witnesses can now be reasonably

   obtained, especially with the change of administration.

          This loss of memories, loss of evidence, and loss of ability to obtain evidence all suffice to

   show prejudice. See supra Part III.A. Because Mr. Barrack has shown prejudice, this Court should

   inquire into the government's reasons for its delay. See, e.g., Gross, 165 F. Supp. 2d at 378-80.

   To the extent that more than negligence is deemed necessary to show unconstitutional delay, Mr.

   Barrack has made the requisite showing because it is evident that the Department of Justice delayed

   indictment until a new presidential administration came into power. And, the very real potential

   that politics was a motivating force for the belated charges against Mr. Barrack offends

   "fundamental conceptions of justice which lie at the base of our civil and political institutions."

   Lovasco, 431 U.S. at 790. The Court should therefore dismiss the indictment based on the

   government's prejudicial delay, or, at minimum, convene an evidentiary hearing to ascertain why

   the charges were not filed until long after Mr. Barrack's 2019 interview.

                                            CONCLUSION

          The government has not alleged        and cannot allege     the facts requisite to stating a

   Section 951 offense. Even if Section 951 could be stretched to cover the routine conduct here, the

   statute would unconstitutionally invite arbitrary enforcement and invade protected First

   Amendment activity. The government has forced Mr. Barrack to defend himself against the false

   statement and obstruction charges without the contemporaneous record that it chose not to create,

   silently waiting two years, while memories faded, to indict him. This Court should dismiss the

   indictment in full.




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    Dated: January 31, 2022               Respectfully submitted,
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